Case 4:20-cv-05146-YGR          Document 638      Filed 04/29/22     Page 1 of 5




QUINN EMANUEL URQUHART &
SULLIVAN, LLP
Andrew H. Schapiro (admitted pro hac vice)      Josef Ansorge (admitted pro hac vice)
andrewschapiro@quinnemanuel.com                 josefansorge@quinnemanuel.com
191 N. Wacker Drive, Suite 2700                 Carl Spilly (admitted pro hac vice)
Chicago, IL 60606                               carlspilly@quinnemanuel.com
Tel: (312) 705-7400                             1300 I Street NW, Suite 900
Fax: (312) 705-7401                             Washington D.C., 20005
                                                Tel: (202) 538-8000
                                                Fax: (202) 538-8100

Stephen A. Broome (CA Bar No. 314605)           Jonathan Tse (CA Bar No. 305468)
stephenbroome@quinnemanuel.com                  jonathantse@quinnemanuel.com
Viola Trebicka (CA Bar No. 269526)              50 California Street, 22nd Floor
violatrebicka@quinnemanuel.com                  San Francisco, CA 94111
865 S. Figueroa Street, 10th Floor              Tel: (415) 875-6600
Los Angeles, CA 90017                           Fax: (415) 875-6700
Tel: (213) 443-3000
Fax: (213) 443-3100

Jomaire Crawford (admitted pro hac vice)        Diane M. Doolittle (CA Bar No. 142046)
jomairecrawford@quinnemanuel.com                dianedoolittle@quinnemanuel.com
51 Madison Avenue, 22nd Floor                   555 Twin Dolphin Drive, 5th Floor
New York, NY 10010                              Redwood Shores, CA 94065
Tel: (212) 849-7000
                                                Telephone: (650) 801-5000
Fax: (212) 849-7100
                                                Facsimile: (650) 801-5100
Counsel for Defendant

                      UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION


PATRICK CALHOUN, et al., on behalf of            Case No. 5:20-cv-5146-YGR-SVK
themselves and all others similarly situated,
       Plaintiffs,                               GOOGLE SUBMISSION RE:
                                                 PRIVILEGE RE-REVIEW (RE: DKT.
       v.                                        617)

GOOGLE LLC,                                      Referral: Hon. Susan van Keulen, USMJ
    Defendant.

SUBMITTED VIA ECF




                                              1              Case No. 4:20-cv-03664-YGR-SVK
                                    GOOGLE SUBMISSION RE: PRIVILEGE RE-REVIEW (RE: DKT. 617)
Case 4:20-cv-05146-YGR          Document 638       Filed 04/29/22      Page 2 of 5




Magistrate Judge Susan van Keulen
San Jose Courthouse
Courtroom 6 - 4th Floor
280 South 1st Street
San Jose, CA 95113


       Re:     Joint Letter Brief re: In Camera Review
               Calhoun v. Google LLC, Case No. 5:20-cv-5146-YGR-SVK (N.D. Cal.)

Dear Magistrate Judge van Keulen:

       Pursuant to your Honor’s April 15, 2022 order (Dkt. 617), Google submits this statement for

the Court’s consideration.




                                              2              Case No. 4:20-cv-03664-YGR-SVK
                                    GOOGLE SUBMISSION RE: PRIVILEGE RE-REVIEW (RE: DKT. 617)
Case 4:20-cv-05146-YGR                Document 638           Filed 04/29/22         Page 3 of 5




                                        GOOGLE’S STATEMENT

        Google has re-reviewed the remaining 1,139 privilege log entries that Plaintiffs have
challenged in this litigation, and it has produced any documents from this sample that it has
determined to have been inadvertently mis-designated as privileged. These documents are not a
representative sample of the remaining documents listed on Google’s privilege logs—the vast
majority of which Plaintiffs have agreed not to challenge1—as they were chosen by Plaintiffs at
their “unrestricted discretion.” Am. Nat. Bank & Tr. Co. of Chicago v. Equitable Life Assur. Soc. of
U.S., 406 F.3d 867, 879 (7th Cir. 2005) (25% error rate does not show improper assertion of
privilege where rate is calculated from review of an “unrepresentative sample” chosen by Plaintiffs
with “every incentive to cherry-pick the most vulnerable documents”).

        Out of the 504 documents for which Google is changing its privilege designation, Google’s
investigation indicates that at least 190 are duplicates or near-duplicates of documents that have
already been produced. As such, Google’s re-review of the challenged documents described above
will result in the production of at most 314 new documents out of 1,139 documents re-reviewed.

         This re-review resulted in the following changes to Google’s previous designations:

    Change Type                 Total          Percentage on the basis          Percentage on the basis of
                                               of 949 re-reviewed non-          all documents for which
                                               duplicate documents              privilege is claimed (27,887
                                                                                total documents on
                                                                                privilege logs)

    New documents to be         231            24.3%                            0.83%
    produced in full.

    New documents to be         72             7.6%                             0.25%
    produced with
    redactions.

    New previously-             11             1.2%                             0.04%
    redacted documents to
    be produced without
    redactions.

    New previously-             0              0.0%                             0.0%
    redacted documents to
    be produced with
    narrowed redactions.


1
  Plaintiffs agreed not to challenge 23,774 documents listed on Google’s privilege logs. See, e.g., Dec. 30, 2021
Email from Plaintiffs to Google (stating that Plaintiffs have “no challenge” to 2,483 entries from Google Privilege
Log 001, 1,609 entries from Google Privilege Log 002, and 766 entries from Google Privilege Log 003); Feb. 1, 2022
Email from Plaintiffs to Google (“no challenge” to 5,429 entries from Google Cross-Use Privilege Log 001 and 8,228
entries from Google Cross-Use Privilege Log 002); Mar. 8, 2022 Email from Plaintiffs to Google (“no challenge” to
5,259 entries from Google Privilege Log 005 and Google Cross-Use Privilege Log 008).
                                                    3              Case No. 4:20-cv-03664-YGR-SVK
                                          GOOGLE SUBMISSION RE: PRIVILEGE RE-REVIEW (RE: DKT. 617)
Case 4:20-cv-05146-YGR                  Document 638            Filed 04/29/22         Page 4 of 5




    No change to privilege        626            66.0%                             2.2%
    status.

    Previously-withheld           9              0.95%                             0.03%
    documents determined
    to be non-responsive
    upon re-review

        As the Court’s orders in response to Plaintiffs’ previous in camera demands have shown,
Google is committed to strictly construing the privilege and withholding only those documents that
merit protection.2 Google has spent considerable time and resources to ensure that its privilege
designations in this action are accurate by, inter alia, re-reviewing thousands of documents
challenged by the Brown and Calhoun Plaintiffs and producing any documents that were
inadvertently mis-designated as privileged during the course of Google’s initial review and
production of over one million documents (within just a few months’ time).3 Prior to any privilege
challenge by Plaintiffs, each of the documents identified on Google’s privilege logs were
individually reviewed by outside counsel and/or contract attorneys under outside counsel’s
supervision tasked with applying often complex and subjective standards to determine whether a
document is protected from disclosure. See, e.g., Am. Nat. Bank, 406 F.3d at 879 (recognizing that
litigants are entitled to seek “to protect documents for which a good-faith argument in support of
privilege could be made . . . while treading in an area of privilege law that is generally recognized
to be ‘especially difficult,’ namely, distinguishing in-house counsels' legal advice from their
business advice.”); Trading Techs. Int'l, Inc. v. eSpeed, Inc., 2007 WL 844558, at *1 (N.D. Ill. Mar.
14, 2007) (“[A]lthough the attorney-client privilege does not attach for the proffer of business
advice, we recognize that the lines may be difficult to draw.”); Waugh v. Pathmark Stores, Inc., 191
F.R.D. 427, 430 (D.N.J. 2000) (“No bright-line rule governs the applicability of the attorney-client
privilege and, as a result, the applicability of the privilege should be determined on a case-by-case
basis.” (citing Upjohn Co. v. United States, 449 U.S. 383, 396–97 (1981)). Google and its counsel
have an obligation to “zealously protect documents believed, in good faith, to be within the scope
of the privilege” and avoid the need for clawbacks and in camera reviews when those clawbacks
are challenged. Am. Nat. Bank, 406 F.3d at 878-879. As such, Google respectfully submits that (i)
it has undertaken reasonable, good-faith efforts to ensure that its application of the privilege is well
within the reasonableness standard required in discovery; and (ii) no further re-review is required.
See Datel Holdings Ltd. v. Microsoft Corp., 2011 WL 866993, at *4 (N.D. Cal. Mar. 11, 2011) (“In



2
  Compare, e.g., Dkt. 589, at 3-5 (Plaintiffs asserting that “Google’s claw backs are improper, and the documents
should be produced” and suggesting that Google has engaged in “abuse of the privilege designation”) with Dkt 592
(the Court ruling that “Google has carried its burden of demonstrating by a clear showing that all three of the disputed
documents are privileged as attorney-client communications.”).

3
  In order to adequately challenge a party’s application of privilege, the challenging party must provide “a factual
basis sufficient to support a reasonable, good faith belief that in camera inspection may reveal evidence that
information in the materials is not privileged.” Planned Parenthood Fed'n of Am., Inc. v. Ctr. for Med. Progress, 2019
WL 1950377, at *2 (N.D. Cal. May 1, 2019). Plaintiffs’ challenges do not meet this burden, as they consist of
spreadsheets that, e.g., merely identify emails with no attorneys listed and state that the document does not appear to
contain legal advice. Nonetheless, Google has re-reviewed all of the documents Plaintiffs have challenged in good
faith to resolve the parties’ disputes and ensure that any non-privileged materials are produced.
                                                      4              Case No. 4:20-cv-03664-YGR-SVK
                                            GOOGLE SUBMISSION RE: PRIVILEGE RE-REVIEW (RE: DKT. 617)
Case 4:20-cv-05146-YGR           Document 638         Filed 04/29/22      Page 5 of 5




relatively large productions of electronic information under a relatively short time table, perfection
or anything close based on the clairvoyance of hindsight cannot be the standard.”).


                                                   QUINN EMANUEL URQUHART &
                                                   SULLIVAN, LLP

                                                   By: /s/ Andrew H. Schapiro
                                                   Andrew H. Schapiro (admitted pro hac vice)
                                                   andrewschapiro@quinnemanuel.com
                                                   191 N. Wacker Drive, Suite 2700
                                                   Chicago, IL 60606
                                                   Tel: (312) 705-7400
                                                   Fax: (312) 705-7401

                                                   Stephen A. Broome (CA Bar No. 314605)
                                                   stephenbroome@quinnemanuel.com
                                                   Viola Trebicka (CA Bar No. 269526)
                                                   violatrebicka@quinnemanuel.com
                                                   865 S. Figueroa Street, 10th Floor
                                                   Los Angeles, CA 90017
                                                   Tel: (213) 443-3000
                                                   Fax: (213) 443-3100

                                                   Jomaire Crawford (admitted pro hac vice)
                                                   jomairecrawford@quinnemanuel.com
                                                   51 Madison Avenue, 22nd Floor
                                                   New York, NY 10010
                                                   Tel: (212) 849-7000
                                                   Fax: (212) 849-7100

                                                   Josef Ansorge (admitted pro hac vice)
                                                   josefansorge@quinnemanuel.com
                                                   Carl Spilly (admitted pro hac vice)
                                                   carlspilly@quinnemanuel.com
                                                   1300 I Street NW, Suite 900
                                                   Washington D.C., 20005
                                                   Tel: (202) 538-8000
                                                   Fax: (202) 538-8100

                                                   Jonathan Tse (CA Bar No. 305468)
                                                   jonathantse@quinnemanuel.com
                                                   50 California Street, 22nd Floor
                                                   San Francisco, CA 94111
                                                   Tel: (415) 875-6600
                                                   Fax: (415) 875-6700


                                                   Counsel for Defendant

                                               5              Case No. 4:20-cv-03664-YGR-SVK
                                     GOOGLE SUBMISSION RE: PRIVILEGE RE-REVIEW (RE: DKT. 617)
